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             EXHIBIT 4
              REDACTED PURSUANT TO
     APRIL 25, 2019 ORDER (ECF NO. 477)
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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA


ELIZABETH SINES et al. ,                       CASE NO: 3:17cv00072
                                               (J. Moon, Magistrate J. Hoppe)
             Plaintiff

vs.

JASON KESSLER et al.,

             Defendant

        DEFENDANT JEFF SCHOEP'S RESPONSES TO DEFENDANT'S FIRST
       INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS




      Now comes defendant Jeff Schoep and responds to defendants first set of Interrogatories
and Req uest for Documents as follows:


                                 I. DISCOVERY REQUESTS
         1.    Identify all means of communication used by you to commun icate concerning the
Events, whether before, during, or after the Events, and for each means of communication, identify
all names, aliases, e-mail addresses, phone numbers, and Social Media Handles you used in
connection with such communications, including the 18-digit account identifier associated with any
Discord account used by You. Means of communications include, but are not limited to, telephone
calls, in-person meetings, and all means of electronic communication including, for example, Social
Media, email, SMS messages, podcasts, and online video.



                                                                                                 All




      2.     Identify any "channel" or "server" on Discord to which you had access.

             ANSWER: None.


      3.     Identify all persons (natural or non-natural) with whom you comm unicated concerning
the Events, whether before, during, or after the Events.
             ANSWER: Jason Kessler, Matt Heimbach, someone from League of the South

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              whose identity I cannot remember. Members of NSM who were present in
              Charlottesville.


      4.     Identify all Electronic Devices used by you to communicate concerning the Events,
whether before, during, or after the Events.

              ANSWER: cellular phone (calls and text messages,                            ),
                      e-mail,


                                    II. DOCUMENT REQUESTS


       General Response: Mr. Schoep believes he can locate certain receipts and e-mails that are




                                                    -
responsive however, he is not presently able to locate them. If located, they will be promptly
provided to Plaintiffs.

In addition there are numerous videos posted on                 that are responsive but, due to
technical difficulties, cannot be turned over until the week of April 9, 2018.




         1.     All Documents and Communications concerning the Events, including without
limitation all
documents and communications:
i. concerning any preparation, planning, transportation to, or coordination for, the Events,
including receipts, bills and credit card statements reflecting costs for transportation,
lodging, apparel, gear, or any other material purchased for the Events;
ii. concerning any instructions or coordination relating to the Events, including security
details, what to wear, what to bring, when to meet, where to meet, what to say, and any
other logistical information or arrangements;
iii. that are Social Media documents concerning the Events;
iv. you created during the Events, including Social Media, text messages, video, and
photographs;
v. concerning African Americans, Jewish individuals, or other religious, racial, or ethnic
minorities that relate in any way to the Events;
vi. concerning any statement or action attributed to You in the Amended Complaint; or
vii. concerning any allegation of an altercation, violent act, injury, or instance of intimidation
or harassment that occurred during the Rally, including but not limited to James Fields’
vehicular incident; or
viii. concerning any funding of the Events, including for transportation, housing, food,
weapons, uniforms, signage, tiki torches, or other materials or services used in
connection with the Events (or the planning thereof)..

              ANSWER: None except as listed above.

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       2. All Documents and Communications concerning events, meetings, rallies,
          conferences, or conversations held prior to the Events that relate to the Events in any way.

              ANSWER: None except as listed above.


       3.      All Documents concerning and all Communications concerning or with East Coast
       Knights of the Ku Klux Klan (or East Coast Knights of the True Invisible Empire), Fraternal
       Order of the AltKnights, Identity Europa (or Identity Evropa), League of the South, Loyal
       White Knights of the Ku Klux Klan (or Loyal White Knights Church of the Invisible Empire
       Inc.), Moonbase Holdings, LLC, Nationalist Socialist Movement, Nationalist Front (or Aryan
       National Alliance), Traditionalist Worker Party, Vanguard America, or any such other social
       group or organization that has as part of its agenda a racial, religious, or ethnic objective.

              ANSWER: None except as listed above.


       4.    All Documents and Communications concerning violence, intimidation, or harassment
of Persons on the basis of race, religion, or ethnicity, including but not limited to, ethnic cleansing,
white genocide, a white ethno-state, or any other form of large or small scale violence.

              ANSWER: None except as listed above.




      5.      For any Social Media account You had from January 1, 2015, to the present: i.
Documents and Communication sufficient to show the account home page, and all uses of Social
Media for that account that reference or concern the Events or Defendants in any way. ii.
Documents and Communication sufficient to show all Your “friends” and/or “social connections”
maintained on Your account, including their names, addresses, and social network usernames or
handles.

              ANSWER: None except as listed above.


      6.     All Documents concerning and all Communications concerning or with any Plaintiff or
Defendant (other than You) named in the Amended Complaint, and any other Person who attended,
planned or was involved in the Events.

              ANSWER: None except as listed above.

       7.      All Documents and Communications concerning any lawsuits, claims of violence, or
arrests relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any

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Defendant named in the Amended Complaint.

             ANSWER: None except as listed above.

     8.    All Documents and Communications concerning the steps you have taken to preserve
Documents and Communications relevant to the lawsuit, including the Documents and
Communications responsive to these Requests.

             ANSWER: None except as listed above.



                                        Respectfully Submitted and as to Objections:

                                        s/ James E. Kolenich PHV
                                         James E. Kolenich
                                         Ohio Bar Number: 0077084
                                        Attorney for Jason Kessler
                                        Kolenich Law Office
                                        9435 Waterstone Blvd. #140
                                        Cincinnati, OH 45249
                                        (513) 444-2150
                                        (513) 297-6065 (fax)
                                        Email: Jek318@gmail.com




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on April 6, 2018
via email upon: Mr. Yotam Barkai, Esq., Ms. Sequin Strohmeier Esq. Attorneys for Plaintiffs as
follows: email: YBarkai@bsfllp.com; sstrohmeier@kaplanandcompany.com


                                                     s/ James E. Kolenich PHV
                                                     James E. Kolenich




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                      f)              Acknowledgment by Authorized Person
  STATE OF    [YL,M\&'2 -v
  Personally appeared before me Jeff Schoep, on         h~ r--\
                                                            <.a· 2-otct' (date) and did swear that the
                                                             p
  above responses to inten:~gatories and requests for oduction of documents are true and correct to the
  best ofh.         dg o the date listed in this acknowledgement.

   o     Public
              \o.{A P .$' </ o ,...,, .,,.N
  Printed Name~
  My Commission Expires:'>) <.. . l) ffo 2-o /::f


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                  '        JOSEP~ F. SOI.OMO~ .                                                                                - --
                      Notary Public, w_ayne Cou:i,Yi . ' l
                      CommisSion Expires Ju1y 16 2010
                  L        Acting in Macomb County
